Dear Auditor Montee:
This office received your letter of June 11, 2007, submitting a fiscal note and fiscal note summary prepared under Section 116.175, RSMo, for an initiative petition, submitted by Michael Mikkelsen (third submittal), to amend Chapter 311, RSMo, relating to liquor control law. The fiscal note summary that you submitted is as follows:
  This proposal would cost state and local governmental entities an estimated $50 million in federal transportation funds, and generate an estimated $6.91 million in state sales taxes, $1.89 million in state excise taxes, and $4.10 million in local sales taxes.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  JEREMIAH W. (JAY) NIXON Attorney General